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 7                         UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF WASHINGTON
 9
10   UNITED STATES OF AMERICA,                      No. 2:15-CR-0133-SMJ-3

11                       Plaintiff,                 ORDER DENYING DEFENDANT’S
12                                                  MOTION TO MODIFY
                         v.                         CONDITIONS OF RELEASE
13
14   CARLOS MANUEL FLEITAS,
15
                         Defendant.
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17         BEFORE THE COURT is Defendant’s April 6, 2017, motion to modify
18   conditions of pretrial release, ECF No. 181, and the Government’s response in
19   opposition to the motion, ECF No. 185.
20         Defendant seeks to remove the requirement that he participate in a GPS
21   confinement program. ECF No. 181. Defendant indicates that the United States
22   Probation Department for the Eastern District of Washington, after conferring with
23   the local supervisor of Mr. Fleitas in Miami, Florida, does not oppose the motion to
24   modify. The Government, however, objects to the modification and argues
25   Defendant presents as a danger to the community and a flight risk if his location is
26   not monitored. ECF No. 185 at 5.
27         The Court has considered Defendant’s motion, and finds no material change
28   in circumstances since Defendant’s conditions of release were imposed. See 18



     ORDER - 1
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 1   U.S.C. § 3142(f)(2)(B). Accordingly, the Defendant’s Motion, ECF No. 181, is
 2   DENIED. Defendant shall abide by all previous conditions of release.
 3         IT IS SO ORDERED.
 4         DATED April 12, 2017.
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 6                              _____________________________________
                                          JOHN T. RODGERS
 7                               UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
